EXHIBIT 14
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                             Case No. 1:25-cv-10910-ADB

                       Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                       Defendants.



                                     Declaration of Kirsten Weld

I, Kirsten Weld, declare as follows:

       1.      I am a tenured Professor of History at Harvard University.

       2.      I have a PhD in history from Yale University as well as MPhil and MA degrees

from Yale University and a BA degree from McGill University.

       3.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

       4.      I am the President of the American Association of University Professors – Harvard

Faculty Chapter (“Harvard AAUP”). I have voluntarily served in this role since April 2024. I have

been an American Association of University Professors (“AAUP”) member since April 2024.

       5.      As a chapter of the AAUP, Harvard AAUP advocates for policies at Harvard that

promote the AAUP’s mission of advancing academic freedom and shared government, defining

professional values and standards for higher education, ensuring higher education’s contribution

to the common good, and safeguarding the economic security of faculty, academic professionals,
graduate students, post-doctoral fellows, and others engaged in teaching and research in higher

education. As part of this mission, Harvard AAUP provides support to AAUP members on Har-

vard’s campus.

       6.      Harvard AAUP is not aligned with any political party or ideology. Our members

have diverse political and personal beliefs, and we welcome that diversity.

       7.      All Harvard AAUP members are members of the AAUP.

       8.      I am aware that the Trump administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and many other universities warning of potential enforcement actions. I am aware that on

March 31, 2025, the U.S. Department of Education (“DOE”), U.S. Department of Health and Hu-

man Services (“HHS”), and U.S. General Services Administration (“GSA”) announced a compre-

hensive review of federal contracts and grants at Harvard University and its affiliates.

       9.      I am aware that on April 3, 2025, officials from the GSA, HHS, and DOE sent a

letter to Harvard that was made public and demanded that Harvard immediately take a long list of

actions to remain a recipient of federal funding (the “April 3 Letter”). I am aware that this was

followed by a subsequent letter from Trump administration officials on April 11, 2025 with more

detailed demands that “incorporate[ed] and supersed[ed] the terms of” the April 3 Letter (the

“April 11 Letter,” and together with the April 3 Letter, the “Demand Letters”). I have read the

demands listed in the Demand Letters, which were made public.

       10.     I am aware that, on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2.2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds under these grants despite receiving requests from Harvard Uni-

versity to do so.




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       11.     I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (NIH) termi-

nated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture termi-

nated its grants to Harvard. I am aware that on May 12, 2025, the DOE, Department of Defense,

the National Science Foundation, and the Department of Housing and Urban Development each

terminated their grants to Harvard. Letters communicating each of these terminations were made

public, and I have read each of those letters. The government has now canceled about $2.7 billion

in federal grants to Harvard.

       12.     I am also aware of a variety of “stop work” orders that have been issued by federal

funding agencies to grants held by researchers working at Harvard beginning in February 2025. I

am aware that on April 4, 2025, the Boston Globe reported on a federal government memorandum

issued March 31 that specified grants for specific research projects the current administration is

targeting. I know that some of these grants belong to AAUP members.

       13.     I am aware that after the Trump administration froze over $2.2 billion in federal

funds to Harvard on April 14, 2025, approximately twenty AAUP members have had their federal

grants and contracts cancelled. This has happened in waves. I am aware that AAUP members

received a large wave of grant cancellation notices from Harvard on May 15, 2025.

       14.     I am further aware of a variety of public statements made by the Trump administra-

tion beginning in January 2025 slandering the work of university researchers, impugning the in-

tegrity of the university, and making a variety of threats about the ways the federal government

intends to use its authority to impose a moving target list of demands on Harvard.




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       15.     I am also aware of the cancellation of $400 million in federal grants and contracts

to Columbia University and the changes Columbia agreed to implement because of the Trump

administration’s cutting of funding and other demands. Everyone on Harvard’s campus seemed to

be aware of what was going on at Columbia; there was a lot of discussion, fear, and uncertainty. I

am also aware that even after Columbia capitulated to the Trump administration’s demands it still

wasn’t enough; Columbia’s federal funding has not been restored, and indeed, on April 9, the NIH

announced that all its research grants to Columbia would be frozen effective immediately.

       16.     It is my understanding that Harvard preemptively took a series of actions in antici-

pation of similar demands and threats to cancel its federal funding and in response to threats made

by the Trump administration targeted at Harvard as far back as January 2025.

       17.     I understand that Title VI and its implementing regulations require the government

to provide notice and opportunity for a hearing, followed by a finding on the record, before termi-

nating federal funding in any program or part thereof based on a violation of Title VI. I am not

aware of any such notice having been provided to any AAUP member to date.

       18.     I fear that the recent actions of the Trump administration will lead to Harvard mak-

ing decisions that stifle the ability of AAUP members to exercise their academic freedom and

freedom of speech to express differing viewpoints. I am also afraid of the profound negative im-

pacts the loss of Harvard’s federal funding will have on research across the campus.

Impact on AAUP as an Organization and on its Members

       19.     The series of actions the Trump administration has taken targeting Harvard have

had negative impacts on AAUP as an organization.

       20.     The Trump administration’s actions are causing a drain on the AAUP’s resources

because the organization has to spend time dealing with crises and putting people in touch with

needed resources instead of doing the internal governance work that the AAUP usually does within


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the university. For example, we sponsored a training on digital surveillance and information secu-

rity for our members, and we are in the process of planning a Know Your Rights workshop aimed

specifically at faculty.

        21.     We now hold twice as many meetings with our members as we did before the

Trump administration began attacking Harvard University. We use these meetings to address the

significant obstacles these demands, funding freezes, and terminations pose to the academic free-

dom and economic security of our members, such as by discussing how and whether AAUP-

Harvard members can maintain their academic freedom in the wake of these attacks.

        22.     The AAUP has three guiding principles: academic freedom, governance, and eco-

nomic security. These are core objectives of the Harvard AAUP chapter that track the priorities of

AAUP national. Even a narrow interpretation of the capacious demands in the Demand Letters

will have severe impacts on each of these three areas, which I will discuss in turn.

Academic Freedom

        23.     This first AAUP principle involves upholding agreed upon norms and standards of

academic freedom for scholarly research and teaching.

        24.     Harvard has already taken actions in anticipation of the Trump administration in-

vestigating the university, threatening to withhold its federal funding, and termination of about

$2.7 billion in federal funds. For example, on March 26, 2025—after the March 10, 2025 warning

letter was sent to Harvard and other universities—there was a very unusual firing of the Director

and Associate Director of the Center for Middle Eastern Studies. They were removed from their

directorship positions at the Center, seemingly based on a handful of accusations that their pro-

gramming was “imbalanced” regarding Palestine. Secretary of Education McMahon recently high-

lighted this dismissal when asked if the Trump administration was succeeding in its goals of

changes at Harvard. Harvard also declined to renew a long-standing partnership between the


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Harvard School of Public Health’s François-Xavier Bagnoud (FXB) Center for Health and Human

Rights and Birzeit University in the West Bank.

       25.     Around the same time, Harvard declined to renew the annual contract of a colleague

who had served as Associate Director for the Religion, Conflict, and Peace Initiative at Harvard

Divinity School. That colleague, who had led programming in Middle East Studies at Harvard for

23 years, was the only Palestinian-American employed at the Harvard Divinity School. The Reli-

gion, Conflict, and Peace Initiative was suspended.

       26.     I believe it reasonable to interpret all these actions as having been taken in antici-

pation of a Trump administration investigation. These were all programs accused by the congres-

sional Committee on Education & the Workforce of being antisemitic, echoing inflammatory state-

ments by Harvard affiliates about units of the Harvard Divinity School being “Hamas or Palestin-

ian embassies.” The fact that these programs were all shut down around the same time raised grave

concerns that legitimate inquiry regarding Israel and Palestine was being shut down by Harvard as

a result of threats made by the Trump administration to investigate the university.

       27.     Recently, Harvard changed its disciplinary procedures for students accused of com-

mitting infractions of the student code of conduct. A new committee called the University Com-

mittee of Rights and Responsibilities now has final authority over certain student discipline cases

and faculty have lost power and jurisdiction over such cases – indeed, the Harvard Corporation

amended the University Statutes to this effect. This change was made in response to one of the

demands in the April 11 Letter.

       28.     Recently, Harvard renamed its Office for Equity, Diversity, Inclusion, and Belong-

ing as the Office of Community and Campus Life, and charged it with pursuing a different set of

objectives. I understand this move to amount to a shuttering of Harvard’s DEI office in compliance




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with the demands in the April 3 and April 11 Letters. Similar changes were made to the diversity

offices at Harvard’s affiliated hospitals in the weeks following the April 3 and April 11 Letters.

For example, at Massachusetts General Hospital and at Brigham and Women’s Hospital, the for-

mer Centers for Diversity and Inclusion at MGH and BWH, as well as the Office for Belonging

and Engagement and the Center for Faculty Development at MGH, were collapsed and amalga-

mated into the MGB Center for Academic Development and Enrichment (CADE). One AAUP-

Harvard member who is employed at one of the affected hospitals reports that in late April, “we

had a department meeting in which we were told that there was going to be no DEI anymore.”

       29.     I have also received confidential reports of both top-down censorship and anticipa-

tory self-censorship at Harvard-affiliated publications, in which authors of both scholarly and pub-

lic-facing material attest to being discouraged from publishing on topics disfavored by the Trump

administration. Individuals who have shared these confidential reports with me have stressed that

I cannot discuss these incidents with any specificity because they fear being fired from their posi-

tions or facing professional retaliation.

       30.     What is likely to follow if Harvard further capitulates to the demands in the Demand

Letters presents an even greater threat to academic freedom. The Demand Letters seek to force

Harvard to alter its criteria for hiring and elevate voices of compliant faculty into administrative

positions while marginalizing the roles of “noncompliant” faculty.

       31.     I have two colleagues who have already changed their plans for the courses they

were going to teach in the fall out of self-preservation because their planned courses were on topics

explicitly disfavored by the Trump administration. They changed their curricular offerings to no

longer be explicitly about transgender issues in one case and no longer be explicitly about race in

the other.




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       32.     Biomedical researchers have expressed concerns to me about whether they can do

research anymore concerning topics like health equity, maternal mortality for women of color, and

disparities in health outcomes, which is a clear issue of academic freedom. Some of these research-

ers received stop work orders in early February, and others received them more recently. They are

being prevented from doing work they have done all their lives and are concerned they will no

longer have the freedom to conduct their research in the way their professional training and disci-

plinary expertise leads them to deem most appropriate.

Governance

       33.     This second AAUP principle involves advocating for robust shared governance at

universities according to guidelines and recommendations that AAUP national has established

over the course of the past century. These guidelines detail the joint responsibility of faculty, ad-

ministrations, and governing boards to govern colleges and universities, and they note that “when

it comes to academic matters, a faculty decision should normally be the final decision.”

       34.     The governance and leadership reforms listed in the Demand Letters are a clear

infringement on the autonomy of Harvard to manage its personnel in the manner that is most con-

ducive to research and teaching at the university. Capitulation by Harvard to these demands would

constitute not shared governance, but governance by unlawful federal fiat.

       35.     The demands concerning discontinuation of Diversity, Equity, and Inclusion (DEI)

programs in the Demand Letters are vague. They will be interpreted, especially among non-tenure-

track and other contingent faculty who do not have the protections of tenure, as implying that any

kind of teaching and research related to race, ethnicity, racial equity, and identity, whether in a

U.S. or global context, is too risky and could lead to career-damaging consequences. This has

obvious implications for faculty who work in the field of U.S. history. It has immediate and dev-

astating implications for many faculty in the field of public health because much work in the public


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health field relates to equity in some way. This demand signals clearly that the Trump administra-

tion will target areas of inquiry that it disfavors.

        36.     The April 11 Letter demands the “empowering” of, “from among the tenured prof-

essoriate and senior leadership, exclusively those most ... committed to the changes indicated in

this letter,” as well as the “reducing” of “the power held by faculty (whether tenured or untenured)

and administrators more committed to activism than scholarship.” Though these criteria are vague,

they suggest the imposition of a litmus test upon faculty, whereby certain faculty members are to

be disempowered or professionally marginalized based on ideological criteria.

        37.     The April 11 Letter stipulates that “an external party” must “audit the student body,

faculty, staff, and leadership for viewpoint diversity, such that each department, field, or teaching

unit must be individually viewpoint diverse.” It notes that “Every department or field found to lack

viewpoint diversity must be reformed by hiring a critical mass of new faculty within that depart-

ment or field who will provide viewpoint diversity.” This would constitute an unacceptable in-

fringement upon the ability of scholars to direct the faculty appointments process according to

their professional competence and expertise in their respective fields, and would insert inappropri-

ate and extra-academic ideological considerations into the evaluation of candidates for teaching

and research positions. It would have an intense chilling effect upon faculty speech.

        38.     The April 11 Letter explicitly targets "programs, schools, and centers of concern"

which “include but are not limited to the Divinity School, Graduate School of Education, School

of Public Health, Medical School, Religion and Public Life Program, FXB Center for Health &

Human Rights, Center for Middle Eastern Studies, Carr Center for Human Rights at the Harvard

Kennedy School, Department of New Eastern Languages and Cultures, and the Harvard Law

School International Human Rights Clinic.” It insinuates that all of these units have “egregious




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records of antisemitism or other bias,” without offering evidence. Many AAUP Harvard members

work in these programs, schools, and centers of concern, and they report fear and anxiety stemming

from having been singled out for exceptional scrutiny in the April 11 Letter.

       39.     More than 800 Harvard faculty signed a letter urging Harvard not to cave into the

Trump administration’s demands. If the Harvard President and Office of General Counsel comply

with any of the demands listed in the Demand Letters to prevent further terminations of federal

funding, that will send a powerful and frightening message about the shredding of well-established

professional norms around shared governance in higher education. These are shared norms that

have been in place for decades about how university decision making happens.

Economic security

       40.     This third AAUP principle involves advocating for the economic security of all

members of a university community so they can do their work under dignified and equitable eco-

nomic conditions.

       41.     The termination of roughly $2.7 billion dollars in federal funding and continued

threats to terminate all $9 billion of Harvard’s federal funding has left and will leave no part of

Harvard untouched. These terminations will have and are already having catastrophic implications

for the economic security and lives of vast swathes of researchers, from post-graduate researchers

to tenured faculty.

       42.     The Harvard School of Public Health is especially vulnerable—nearly 60% of their

operating budget comes from sponsored support, including federal grants. Before the April 14,

2025 freezing of over $2.2 billion in federal funding, the School of Public Health had already

begun to shrink admissions pools in their PhD programs. Now, virtually every federal grant at the

School of Public Health has been terminated. Multiple colleagues at the School of Public Health

have expressed doubt about whether the School of Public Health will be able to continue existing.


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The threat to their institution and work is existential and they will not be able to recoup their

institution and work if federal funding is not resumed within a short time period. This will also

have lasting effects on the pipeline for future scientific research, as NSF grants designed specifi-

cally for early-career scientists have been cancelled wholesale.

           43.   I am also particularly fearful that colleagues who are coming up for tenure will be

denied tenure if their research falls under the broad areas for “reform” listed in the Demand Letters.

This is both an academic freedom issue and an economic security issue.

           44.   Harvard implemented a hiring freeze on March 10, 2025, hours before the federal

government sent a letter indicating it was monitoring Harvard. It is my understanding that this

hiring freeze was implemented in part in anticipation of threats from the Trump administration to

cancel Harvard’s federal funding. This funding freeze has impacted me directly because it includes

a freeze on hiring new research assistants, which slows the pace of faculty research, as well as a

freeze on new tenure-track hiring, which means we cannot fill crucial teaching gaps in the history

department.

           45.   There are also a number of term-limited lecturers who are timing out of their con-

tracts. Some are language instructors who are the only person at Harvard teaching their specific

language. Due to the hiring freeze, these lecturers will not be replaced and various bodies of

knowledge will no longer be taught at the University as a result. If federal funding is not restored

soon, the hiring freeze will be prolonged for years even as a generation of older faculty members

retires.

           46.   It is important to understand the way researchers who are funded by federal

grants—especially biomedical researchers, of whom we have numerous AAUP members and who

have explained to me in detail the implications of these threatened cuts for their work—organize




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their careers. Biomedical research funded by federal grants is built upon a complex infrastructure

of scientists, data analysts, administrators and trainees. It requires technical expertise that is devel-

oped over years of mentoring and is often held in the hands of specific experienced individuals.

Human samples are necessary for the work, and such samples are obtained at significant cost and

effort—to the researchers as well as to the study participants. This type of research therefore re-

quires planning years in advance. Part of that planning involves always having additional fundable

projects lined up to provide continuous resources for long-term research initiatives. So it is not just

researchers’ current grants that are at risk of cancellation or have been cancelled, it is years’ worth

of future grants. This can be career ending; it may well unrecoverably disrupt these researchers’

life work.

        47.     I have heard colleagues express concerns that Harvard University may no longer

be able to function as a research university due to the collapse of biomedical sciences resulting

from withdrawals of federal funding.

        48.     These threats are not unique to Harvard. Earlier this semester, Cornell and North-

western had $1 billion and $800 million in federal funds frozen respectively, and Columbia, de-

spite having already agreed to many of the Trump administration’s demands, saw all its NIH grants

newly frozen. But the scale and retaliatory nature of the attacks at Harvard are thus far without

parallel at other institutions.

Specific Impacts on Anonymous AAUP Members

        49.     As President of the Harvard AAUP chapter, I have heard from dozens of our mem-

bers about how federal funding cuts are severely disrupting their ability to conduct essential aca-

demic research and teaching or whose speech has been chilled as a result of recent Trump admin-

istration threats and demands directed at Harvard. Many of them, including the AAUP members

discussed below, are afraid to publicly testify about the impacts of these cuts and the chilling of


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their speech because they fear retaliation from Harvard University, Harvard affiliates, or the fed-

eral government.

       50.      Members, including those discussed below, have expressed fear that they will be

blacklisted from future federal grant funding, denied tenure or academic promotion, and/or face

retaliation against other members of their department or the students they advise. Certain members

have expressed concern that because they or their family members are noncitizens, their visas or

green cards could be revoked in retaliation for their participation in this litigation. This section of

the declaration discusses the experiences of AAUP members without providing names because of

the reasonable fears of retaliation these members have expressed.

                                         AAUP Member #1

       51.     An AAUP member in the Faculty of Arts and Sciences changed their teaching plans

for next semester because they feared harassment.

       52.     This professor has been vocal in support of pro-Palestine student protestors and has

already experienced public targeting and harassment as a result; however, they have not previously

adjusted their public speech or teaching before this latest chilling wave of attacks from the federal

government.

       53.     The course they had planned to teach would have addressed the lead-up to the U.S.

Civil War; it would have dealt with topics including settler colonialism, slavery, Indian removal,

and the U.S.-Mexico War, all of which could reasonably be assumed to be covered by the federal

government’s demand that anything related to “DEI” be discontinued.

       54.     Additionally, the professor feared facing false accusations on Title VI grounds be-

cause the course would have explored the subject of white supremacy in American history.

                                         AAUP Member #2
       55.     Another AAUP member is a member of the faculty at Harvard Medical School.


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        56.     This AAUP member has arranged to spend part of next year working outside the

United States because they do not feel comfortable being at Harvard anymore due to their pro-

Palestine advocacy and opinions. This member’s decision to spend part of next year working out-

side the United States is intended as a step towards their full transition outside of the United States.

This means that the medical school and patients in the Harvard-affiliated hospital system will not

receive the benefit of this faculty member’s decades of clinical expertise.

                                             AAUP Member #3

        57.     Another AAUP member is a member of the faculty at Harvard Medical School.

They are an internationally recognized scholar in their field.

        58.     This faculty member attests that the precipitous termination of billions of dollars in

federal grants and contracts, as well as the statement by the Secretary of Education that Harvard

researchers need not apply for future federal grants, has had a catastrophic effect on the atmosphere

and conduct of biomedical research at the Medical School.

        59.     This faculty member has seen all three of their NIH grants suspended as of May 1,

totaling millions of dollars of competitively secured multi-year research support. They have spent

their career working in partnership with biomedical researchers abroad, but the federal govern-

ment’s suspension of all grants with foreign subawards imperils the international research collab-

orations this faculty member has developed over decades. They have had to suspend ongoing clin-

ical trials and they do not know what will happen to the valuable biomedical samples that have

already been gathered as part of their ongoing projects. The suspended grants support the work of

5 Boston-area biomedical researchers and many more biomedical researchers based at the faculty

member’s international research site.




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       60.     This faculty member has seen administrative staff—those who are responsible for

tasks such as grants administration and human studies review—be dismissed from their jobs. They

note that early career scientists who have completed multiple years of postgraduate training are

newly seeking career opportunities outside of basic research and/or outside the United States, thus

disrupting the scientific research pipeline in ways that will have generational effects. Scientists

with unique and advanced skills are seeking positions outside of academia and/or outside the

United States, because of the lack of prospects for continued research funding. Projects that require

the recruitment of human study participants have had to suddenly suspend operations because the

funds enabling the completion of the associated research projects have been terminated.

       61.     This faculty member attests that the institution has halted seed grants that are fun-

damental to initiating new projects and scientific collaborations. Harvard is encouraging faculty to

pursue philanthropic funding for their work, yet the type of research this faculty member performs

is unlikely to garner private funding. Laboratory facilities and other physical spaces that support

laboratory research are now being consolidated and closed. Harvard University and Harvard-affil-

iated hospitals have offered small amounts of bridge funding but in quantities that are nowhere

near what would be necessary to permit the survival of these research programs.

       62.     This faculty member further attests that foundational scientific work that has taken

many years of human effort and institutional investment to reach its current state is being termi-

nated in a manner that will fundamentally preclude the possibility of future research. As a result,

this faculty member attests they are actively looking to move their research program away from

the United States if possible.

       63.     This faculty member remains anonymous because absent federal funding, they will

need bridge funding from another source to maintain their research program. This funding may




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originate from, or be directed by administrators from within, their institution, and they fear that

their actions might influence the possibility of receiving such support. Administrators at the Har-

vard-affiliated hospital where they work have explicitly instructed this faculty member not to voice

any public concerns about what is occurring and not to speak to the media.

Impact on Student Speech and Academic Freedom

       64.     The recent Trump administration demands and threats targeted at Harvard also have

had a profound chilling effect on students at Harvard.

       65.     Graduate students are having to reorganize their research plans because funding

sources have been wiped out, and because Harvard's very authorization to enroll international stu-

dents has been thrown into doubt by the Department of Homeland Security’s attempted revocation

of its SEVP certification. This makes it very difficult to do academic work in any discipline be-

cause serious research requires multiple years of planning.

       66.     I can also provide numerous examples of the ways in which students have changed

their behavior as a result of threats from the Trump administration.

       67.     In one of my classes, students were talking in April about setting up a Signal group

for mutual support because they were terrified about the detention of Rumeysa Ozturk at Tufts

University close by. One student, however, said they were too scared to even have the Signal app

on their phone because if their devices got searched at the border, they didn’t want border agents

to think they had something to hide by virtue of having the app. This fear has prevented this student

from participating fully in their scholarly community.

       68.     When the Director and Associate Director of the Center for Middle Eastern Studies

were removed from their positions, there was a protest criticizing their removal. One of my noncit-

izen students told me he was walking through Harvard Yard when the demonstration was ongoing,

and when he saw there was a protest with cameras everywhere he pulled his hoodie over his face


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and fled in the opposite direction because he was so afraid of being photographed at a protest he

was not even involved in. This fear is not unwarranted: the Department of Homeland Security has

demanded that Harvard turn over five years' worth of any surveillance video documenting protest

activities involving international student participation.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.



Dated: June 2, 2025                                    Signed: ___________________

                                                       Kirsten Weld
                                                       Professor of History




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